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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


  DEMETRIUS JOHNSON,                            )
                                                )         Case No. 20 CV 4156
               Plaintiff,                       )
                                                )         Judge Sara L. Ellis
               v.                               )
                                                )          Magistrate Judge Heather K.
  REYNALDO GUEVARA, the ESTATE                  )          McShain
  of ERNEST HALVERSON, DARRYL                   )
  DALEY, and GERI LYNN YANOW as                 )
  Special Representative for the Estates of     )
  Defendants ERNEST HALVERSON,                  )         JURY TRIAL DEMANDED
  WILLIAM ERICKSON, and JOHN                    )
  HEALY, and the CITY OF CHICAGO,               )
                                                )
               Defendants.                      )

                  OPPOSED MOTION FOR ADDITIONAL TIME
                    TO FILE THEIR MOTION ON DISPUTES
        IN THE JOINT STATEMENT OF FACTS AND SUMMARY JUDGMENT

        Defendants DARRYL DALEY, and GERI LYNN YANOW as Special Representative

for ERNEST HALVERSON, deceased, WILLIAM ERICKSON, deceased, and JOHN HEALY,

deceased, (“Defendant Officers”) by their undersigned counsel, respectfully move this Cour for

additional time to file their motion on Disputes in the Joint Statement of Facts and Summary

Judgment, and state as follows:

        1.    On November 14, 2023, the Court extended expert discovery to December 15,

2023 set the date for Defendants to file their motions for Summary Judgment for January 31,

2024.

        2.    On December 22, 2023, Defendant City of Chicago and Defendant Officers

submitted their separate draft JSOF to Plaintiff for review and comment.




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        3.      Defendant Officers continued to work on their motion for Summary Judgment1

and after not receiving any objections from Plaintiff, on January 2, 2024, informed Plaintiff that

they made one edit to what was previously submitted to Plaintiff by adding one paragraph and

identified the paragraph.

        4.      On January 9, 2024, Plaintiff for the first time requested all exhibits cited to in

Defendant Officers’ draft JSOF. Defendants responded the same day with a link to all exhibits

and also sent an updated version with edits to Defendant Officers’ citations.

        5.      On January 17, 2024 at 2:25 p.m., Plaintiff sent his initial objections to the

Defendant Officers’ draft JSOF. Plaintiff’s response included red-lined edits to various facts and

objections in Microsoft track changes comments in the margins of the draft JSOF. (See Ex. 1 -

Plaintiff’s 1.17.24 edits)

             6. On January 19, 2024 at approximately 2:00 p.m., Defendant Officers responded

to Plaintiff with responses to Plaintiff’s objections and stated:

                Attached please find our response to your objections you sent over on the
                afternoon of the 17th to the draft JSOF. We have accepted some of your edits,
                withdrawn some draft facts, and where there is a current dispute we have
                responded.
                We checked and it appears that Judge Ellis is off the bench from 1/29-2/2 and she
                has a three day notice requirement for motions.
                Therefore, in order for us to attempt to meet her deadlines, if we need to litigate
                any of these facts a motion would have to be filed on Monday.
                Accordingly, please advise when you are available on Monday to discuss this.
                Additionally, in order for this draft JSOF to be in the format the court requires,
                please move all your stated objections and support for your objections directly
                below the draft fact.

(See Ex. 2 - Defendant Officers’ 1/19/2024 Email )




1Defendant Officers have been mindful of where there are disputed issues of material fact and therefore,
for the purposes of their motion for Summary Judgment, are not contesting that the “Erickson lineup
report” was no produced to the prosecutor or defense counsel prior to trial.


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          7.      On January 21, 2024 at 11:55 a.m., Plaintiff responded with an email that they

would be available at 4 p.m. (after a deposition)2 to discuss the JSOF. (See Ex. 3 –1/21/24 email

exchange) Defendant Officers then inquired in three separate follow-up emails on January 21,

2024 inquiring: 1) If Plaintiff’s counsel was going to be sending a new version with Plaintiff’s

objections and support in the format the court requires prior to scheduled phone call, 2) if

Plaintiff’s counsel was available for an earlier phone call so the parties could complete the work

that needed to be done; and 3) if, due to the circumstances, Plaintiff would be willing to agree

to a short extension. Plaintiff’s counsel responded at 9:31 p.m. that they would not agree to any

additional time, as they saw the time crunch as solely the fault of Defendants and would confer

at the end of Monday. (See Ex 3)

          8.        On January 22, 2024 at 11:59 a.m. Plaintiff responded with additional edits, but

Plaintiff once again did not provide his objections in the format required by the Court. (See Ex.

4 – Plaintiff’s 1.22.24 edits to JSOF)

          9.      Defendant Officers then reviewed and cleaned up the working draft, including

identifying the facts still in dispute and putting Plaintiff’s objections and citations from the

comments in the margins into the Court required format and sending the latest draft to Plaintiff’s

counsel just prior to a 4:30 p.m. telephone conference.

          10.     During the conference Plaintiff advised he would review the cleaned-up version

and respond to Defendants. At the end of the phone conference, Defendant Officers confirmed

with Plaintiff that they would pull all the exhibits cited in disputed fact paragraphs and remove

any remaining notes in the margin so the document could be filed with the Court and the

disputed paragraphs ruled upon by this Court. Additionally, Defendant Officers requested that



2   This deposition was canceled by Plaintiff at 10:36 a.m. on Monday January 22, 2024.


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Plaintiff correct and ensure consistency in the cites in his objections so it could be filed. (See Ex

5 – 1/22/24 email exchange)

       11.     At 6:45 p.m., Plaintiff’s counsel informed Defendant Officers that he would not

be able to review and send any edits until the following morning. Defendant Officers then

responded (at 7:03 p.m.) that the motion needed to be filed that evening. To which Plaintiff

responded (at 9:49 p.m.), with his final response on the issue again asserting that any delay was

not his fault and he would respond the next day. (See Ex 5)

       12.     While Defendant Officers will continue work with Plaintiff to finalize which facts

are in dispute and have those issues presented to the Court in the format the Court requires,

additional time is needed to complete this.

       Wherefore, Defendant Officers respectfully request this Honorable Court grant an

extension of an additional seven days to file their Summary Judgment motion after the Court

rules on the disputed facts and the Joint Statement of Facts is finalized.



Dated: January 22, 2024                                RESPECTFULLY SUBMITTED,


                                                       /s/ Josh M. Engquist
                                                       JOSH M. ENGQUIST
                                                       Special Assistant Corporation Counsel
                                                       One of the Attorneys for Defendant Officers

James G. Sotos
Josh M. Engquist
David A. Brueggen
Special Assistant Corporation Counsel
The Sotos Law Firm, P.C.
141 W. Jackson, Suite 1240A
Chicago, Illinois 60604
(630) 735-3300
jengquist@jsotoslaw.com



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                                CERTIFICATE OF SERVICE

 I certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that a copy of the foregoing
 OPPOSED MOTION FOR ADDITIONAL TIME TO FILE THEIR MOTION ON
 DISPUTES IN THE JOINT STATEMENT OF FACTS AND SUMMARY JUDGMENT
 was filed on January 22, 2024 using the CM/ECF electronic filing system and notice thereof was
 sent to the below service list.

  Attorneysfor
Attorneys    forPlaintiff
                 Plaintiff                                 Attorneys for City of Chicago
  Jennifer
Jon Loevy  Bonjean                                         Eileen E. Rosen
  Ashley
Arthur    Blair Cohen
        Loevy                                              Stacy A. Benjamin
  Bonjean  Law Group, PLLC
Anand Swaminathan                                          Catherine M. Barber
  467 Saint
Steven  Art Johns Place                                    Patrick R. Moran
  Brooklyn.
Joshua TepferNY 11238                                      Theresa B. Carney
Sean Starr                                                 Austin G. Rahe
  718-817-1850
Rachel  Brady                                              Rock Fusco & Connelly, LLC
  jennifer@bonjeanlaw.com
LOEVY     & LOEVY                                          321 N. Clark, Suite
311  N. Aberdeen, 3rd Floor
  ashley@bonjeanlaw.com                                    Chicago, Illinois 60654
Chicago, Illinois 60607                                    312-494-1000
312-243-5900                                               erosen@rfclaw.com
jon@loevy.com                                              pmoran@rfclaw.com
arthur@loevy.com                                           sbenjamin@rfclaw.com
anand@loevy.com                                            cbarber@rfclaw.com
steve@loevy.com                                            tcarney@rfclaw.com
josh@loevy.com                                             arahe@rfclaw.com
sean@loevy.com
brady@loevy.com
                                                           Attorneys for Defendant Guevara
                                                           James V. Daffada
                                                           Thomas M. Leinenweber
                                                           Justin L. Leinenweber
                                                           Leinenweber Baroni & Daffada
                                                           120 N. LaSalle St., Suite 2000
                                                           Chicago, IL 60602
                                                           (312) 663-3003
                                                           jim@ilesq.com
                                                           thomas@ilesq.com
                                                           justin@ilesq.com


                                                           /s/ Josh M. Engquist
                                                           JOSH M. ENGQUIST




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